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 1                             UNITED STATES DISTRICT COURT

 2                                    DISTRICT OF NEVADA

 3 ANDREA NICOLE COSTELLO,                               Case No.: 2:19-cv-01752-APG-BNW

 4          Plaintiff                                                   Order

 5 v.

 6 GLEN WOOD COMPANY, et al.,

 7          Defendants

 8 AND ALL RELATED THIRD-PARTY
   CLAIMS.
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10         In light of my rulings granting summary judgment to defendants Glen Wood Company

11 and Travis Alexander on the plaintiffs’ claims (ECF Nos. 114, 122), and consistent with the

12 stipulation to dismiss the third-party claims without prejudice (ECF No. 127),

13         I ORDER the clerk of court to enter judgment in favor of defendants Glen Wood

14 Company and Travis Alexander and against plaintiff Andrea Costello, and to close this case.

15         DATED this 3rd day of December, 2021.

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                                                       ANDREW P. GORDON
                                                       UNITED STATES DISTRICT JUDGE
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